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                       UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 14CR1283-GPC

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
JESUS FLORES-ROMERO (2),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Information:

     21:952 AND 960; 18:2 - IMPORTATION OF METHAMPHETAMINE; AIDING AND

    ABETTING

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


DATED: MAY 6, 2014
                                            David H. Bartick
                                            U.S. Magistrate Judge
